       Case 1:25-cv-00613-MLB              Document 15-1        Filed 03/19/25   Page 1 of 2




   RE: -.. ··-·· :·; CLERK'S   offiche Office of Ulysses T. Ware
          0.:.L.C. · Atlanta            123 Linden Blvd., Ste 9-L
                                          Brooklyn, NY 11226
          MAR 19 2025                        (718) 844-1260
       KEVIN P. WEIMER, Clerk            utware007@gmail.com
    ~~utyClerk
                                      February 25 , 2025 , 1:03:26 PM

VIA U.S. MAIL

Office of the District Clerk
                                                                                 Jlr-S
United States District Court
Northern District of Georgia
1988 Richard B . Russell U.S. Courthouse
75 Ted Turner Drive, SW
Atlanta, GA 30303

Re: Ware, et al. v. Alpha Capital, et al., Case No. 25cv00613 (NOGA)

Enclosures: (1) Appellants' Response to the District Court, Brown, J., Dkt. 4, February 13, 2025,
Order; and (2) Appellant Group Management's Entry of Appearance of Counsel in 25cv00613
(NDGA).

Dear Clerk of the District Court:

Appellants-Movants, Ulysses T. Ware and Group Management, a sole proprietorship, hereby
submit for filing and docketing in the above-referenced matter, Case No. 25cv00613 (NDGA), the
following documents:

    1. Appellants' Response to the District Court, Brown, J., Dkt. 4, February 13, 2025,
       Order: This document constitutes Appellants-Movants' formal response to the Order
       issued by the Honorable Judge Brown, Docket Entry 4, dated February 13, 2025 , regarding
       the representation of Appellant Group Management.
    2. Appellant Group Management's Entry of Appearance of Counsel in 25cv00613
       (NOGA): This document constitutes the formal Entry of Appearance of Ulysses T. Ware
       as Attorney in Fact for Appellant Group Management, a sole proprietorship, pursuant to
       28 U .S.C. § 1654.

Appellants-Movants respectfully request that the Clerk of the District Court ensure that all future
notices, orders, and other documents issued by the Court in Case No. 25cv00613 (NDGA),
including all PACER electronic notifications, are properly directed and served upon:

Ulysses T. Ware, Attorney in Fact for Appellant Group Management
The Office of Ulysses T. Ware


Page 1 of 2
Tuesday, February 25, 2025
(16-5-CL)) (Part 16-5-CL) re: Clerk's filing letter
      Case 1:25-cv-00613-MLB               Document 15-1      Filed 03/19/25      Page 2 of 2




123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
utware007 (mgmai l. com

Thank you for your attention to these filings and for ensuring proper notification in this matter
moving forward.

Sincerely,              ,.
t:?){~           <'vv~
/s/ tftys~ s T. Ware
                       1 1



Ulysses T. Ware
Attorney in Fact for Appellants-Movants
Ulysses T. Ware and Group Management, a sole proprietorship

Enclosures:

    1. Appellants' Response to the District Court, Brown, J., Dkt. 4, February 13, 2025, Order
    2. Appellant Group Management's Entry of Appearance of Counsel in 25cv00613 (NDGA)



                                         Certificate of Service

I, Ulysses T. Ware, attorney in fact for the Appellants, hereby certify under penalty of perjury that
on this 25th day of February, 2025, I caused to be served a true and correct copy of the foregoing
COVER LETTER AND ENCLOSED FILINGS via electronic filing with the United States
District Court for the Northern District of Georgia in Case No. 25cv00613 (MLB) and by U.S.
Mail to the Office of the District Clerk, United States District Court, Northern District of Georgia,
1988 Richard B. Russell U.S. Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303.

/s/ Ulysses T. Ware
Ulysses T . Ware




Page 2 of 2
Tuesday, February 25, 2025
{16-5-CL)) {Part 16-5-CL) re: Clerk's filing letter
